                         IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


JOHN DOE                                      )
     Plaintiff(s)                             )
                                              )
v.                                            )       Case No. 3:18-0569
                                              )       Judge Campbell /Frensley
                                              )
VANDERBILT UNIVERSITY, et al.                 )
    Defendant(s)                              )


                                             ORDER

        On October 9, 2018, Defendant filed a Motion to Dismiss with supporting documents.

Docket Nos. 39-40. Pursuant to Rule 12 Fed.R.Civ.P., and the Local Rules of this Court 7.01(a),

Plaintiff shall file a response within 14 days of the filing of the Motion, optional replies are due

within seven (7) days after the filing of the response. Any filings made related to the Motion to

Dismiss (for extensions of time, exceed the page limits, seal documents, or make manual filings)

shall be considered by the Honorable William L. Campbell, Jr., District Judge.

        IT IS SO ORDERED.



                                                      ________________________________
                                                      JEFFERY S. FRENSLEY
                                                      United States Magistrate Judge




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